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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

_________________________________
KEISHA PETERSEN                   )                CIVIL ACTION NO.
                                  )                3:12-CV-00214 (MRK)
     Plaintiff                    )
v.                                )
                                  )
FMS INVESTMENT CORP.              )
     Defendant                    )
_________________________________)                 SEPTEMBER 11, 2012

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff files this notice of voluntary dismissal with prejudice as the parties have

negotiated on their own.

                                           Plaintiff, Keisha Petersen

                                                By /s/ Joshua R.I. Cohen
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                                      CERTIFICATION

         I hereby certify that on this 11th day of September, 2012, a copy of foregoing
Response to Judge’s Request was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.


                                        /s/ Joshua R.I. Cohen
                                        Joshua R.I. Cohen
